Exhibit 7

ESPN CHL Lawsuit Article

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Lawsuit: Junior hockey violates
antitrust law

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Tisha Thompson, ESPN
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A union representing junior hockey players is suing the NHL, the Canadian Hockey

League and its affiliated junior hockey leagues and clubs, alleging the development system

for professional prospects violates antitrust laws.

The North America division of the World Association of Icehockey Players Unions said in
its class-action filing that hockey's professional leagues operate what it called a cartel,
allowing the "systematic exploitation and abuse" of junior players. The lawsuit was filed
Wednesday in the U.S. District Court for the Southern District of New York.

The lawsuit names the Ontario Hockey League (OHL), the Western Hockey League
(WHL), the Quebec Maritimes Junior Hockey League (QMJHL) -- all members of the CHL
-- and more than 140 member clubs connected to the NHL and its major junior leagues.

"We have just been made aware of the complaint, filed by WAIPU, an organization that
has not been certified to represent any CHL players,” the CHL said in a statement. "Until
we can thoroughly review the document, we are unable to provide comment as to the

legitimacy of its contents.”
The NHL did not immediately respond to a request for comment.

According to the lawsuit, the leagues suppress the rights of junior players by divvying up
geographic territories, recruiting exclusively from those areas, and allowing teams to sign
the exclusive rights to employ the player for his entire junior career, The lawsuit states the
leagues operate a draft without a collective-bargaining agreement for players and restrict
players’ pay for name, image and likeness. All of this, the lawsuit states, "artificially

[reduces]" compensation and restricts competition for junior players.

Junior players "have been historically fearful of challenging these illegal agreements

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their chances of ever competing in the NHL," according to the complaint.

A player "forever waives his NCAA eligibility and is barred from playing college hockey,
regardless of how many games (if any) he skates in a Major Junior League,” the filing
states. "This remains the case even after NCAA schools began allowing their athletes to

share in NIL licensing revenues.”

The labor group alleges that leagues’ rules have allowed them to illegally underpay players.
WHL players are paid $250 a month, while OHL players are paid $470 a month, according
to the filing. The filing also alleges that each player's NIL rights are assigned to his team,

which does not share any subsequent proceeds with players.

The NHL exerts control over the leagues by providing "annual funding" to the junior
leagues and "substantial payments" to each club, paying teams as much as $175,000 per

player selected in the NHL draft, according to the complaint.

"No other developmental league in North America receives similar payments and funding

from the NHL," the complaint states.

Many European prospects, in comparison,
play in the NHL's two developmental hockey
leagues -- the American Hockey League (AHL)
and the East Coast Hockey League (ECHL).
The lawsuit states AHL pays its players
$5,000 a month, while ECHL pays $2,800 a
month. Players in both leagues are also
represented by a CBA, according to the
complaint. But the AHL and ECHL have
agreed not to compete for the junior league
players, "further reducing competition,"

according to the complaint.

Following a separate class-action lawsuit filed against the CHL in 2020, which alleged
players were subject to bullying, hazing, sexual abuse, and other physical and
psychological abuse, the CHL appointed an independent review panel to review its
practices. That panel found a "code of silence" that prevents players from reporting

misconduct.

Wednesday's lawsuit is asking the court for damages and three injunctions; one that will

effectively end all of these practices, another that will prevent future drafts without a CBA,

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and a third against any league that boycotts a junior player who complains about league

practices or participates in the lawsuit.

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